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  15                          UNITED STATES DISTRICT COURT
  16                        CENTRAL DISTRICT OF CALIFORNIA
  17 LLOYD’S MATERIAL SUPPLY                   )      Case No. 2:16-cv-08027-DMG (JPRx)
     COMPANY, INC. a California
  18 corporation; and LLOYD’S
                                               )
                                               )      DEFENDANT’S REPLY IN SUPPORT
     EQUIPMENT, INC., a California
  19 corporation,,
                                               )      OF MOTION TO DISMISS
                                               )      PURSUANT TO FEDERAL RULE OF
  20
                                               )      CIVIL PROCEDURE 12(B)(1) & (6),
                                    Plaintiff, )      OR ALTERNATIVELY, TO
  21
                                               )      TRANSFER PURSUANT TO 28 U.S.C.
                   vs.                         )      § 1404(A)
  22
                                               )
        REGAL BELOIT CORPORATION, a            )      Date: March 3, 2017
  23
        Wisconsin corporation; and DOES 1-25, )       Time: 9:30 a.m.
                                               )
                                  Defendants. )
  24                                           )      Complaint Filed: 10/27/16
                                               )      Judge: Honorable Dolly M. Gee
  25                                           )      United States Courthouse
  26
                                               )      350 West 1st Street
                                               )      Courtroom 8C, 8th Floor
  27
                                               )      Los Angeles, CA 90012
                                               )
  28
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    1                                            RBC’S REPLY
    2              Defendant, Regal Beloit Corporation (“RBC”), respectfully states as follows in
    3   reply to Plaintiffs’ Opposition (Doc. # 24)1 to Defendant’s Motion to Dismiss, or
    4   Alternatively, to Transfer (Doc. # 20).
    5                                       I.     INTRODUCTION
    6              The precedents of the Supreme Court, the Ninth Circuit, and the other courts cited
    7   in Defendant’s Memorandum of Law leave no doubt that—even when construed in the
    8   light most favorable to Plaintiffs—the Complaint is properly subject to dismissal.
    9   Plaintiffs’ efforts to avoid dismissal are so zealous that their Opposition takes great
  10    liberties with both the “facts” alleged in the Complaint and the law.
  11               The law could not be more clear that Plaintiffs lack standing to enforce the consent
  12    decree upon which all of their claims are based. This consent decree was entered by
  13    another federal court, the United States District Court for the District of Columbia (the
  14    “D.C. District Court”), in a case to which Plaintiffs were not parties. Plaintiffs cannot
  15    overcome the authority from the Supreme Court,2 the Ninth Circuit,3 and the D.C.
  16 Circuit4 holding that they lack standing to enforce the consent decree between RBC and

  17 the Department of Justice (“DOJ”). Instead, their Opposition insists that “[t]he

  18 allegations of the Complaint go far beyond the consent decree.”5 In reality, Plaintiffs’

  19 characterizations of their allegations “go far beyond” what the Complaint actually says.

  20 For example, the Complaint provides no support for the assertion in Plaintiffs’

  21 Opposition that their claims are also based on RBC’s 2011 acquisition of the spa motors

  22 business of A.O. Smith (“AOS”). If the Complaint actually made such a claim, it would

  23 be time-barred as a matter of law. Similarly, the fact that the company to which RBC

  24

  25    1
       Plaintiffs’ Opposition is cited herein by page number as “Opp.”
        2
  26   See Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 750, 95 S. Ct. 1917, 44 L.
     Ed.
     3
         2d 539 (1975).
  27 4 See Dahl, Inc. v. Roy Cooper Co., 448 F.2d 17, 20 (9th Cir. 1971).
       See Rafferty v. NYNEX Corp., 744 F. Supp. 324, 328 (D.D.C. 1990), aff’d in relevant
  28 part,
     5
           60 F.3d 844, 849 (D.C. Cir. 1995) (collecting cases).
       [See Opp., p. 11 of 21.]
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    1   sold its spa motors business pursuant to the consent decree—SNTech, Inc.—filed for
    2   bankruptcy three years later does not give rise to antitrust or any other claims. On its
    3   face, the Complaint alleges no anticompetitive conduct by RBC at any time since
    4   SNTech’s 2014 bankruptcy. Last but not least, the Complaint is not saved from dismissal
    5   by Plaintiffs’ argument that their claims are really based on RBC’s alleged violations of
    6 its agreements with SNTech, not on alleged violations of the consent decree. The

    7 agreements at issue were specifically required by the consent decree. The consent decree

    8 is clear that violations of RBC’s agreements with SNTech are violations of the consent

    9 decree. Because Plaintiffs are not parties to either the agreements with SNTech or the

  10 consent decree, they lack standing to complain of RBC’s alleged violations.

  11               The other ways in which Plaintiffs’ Opposition tries to rewrite both the Complaint
  12 and the case law similarly will not withstand even cursory scrutiny. For example,

  13 Plaintiffs’ Opposition suggests that RBC somehow caused SNTech to file for bankruptcy

  14 and exit the spa motors market. The Complaint itself, however, simply references the

  15 fact that SNTech filed for bankruptcy in 2014.6 The Complaint does not allege that RBC

  16 was responsible for SNTech’s bankruptcy—much less state any facts that would support

  17 such an allegation.

  18               Through other rhetorical sleights of hand, Plaintiffs’ Opposition tries to avoid the
  19 Illinois Brick doctrine, under which “only direct purchasers have standing . . . to seek
                                              7
  20 damages for antitrust violations.” According to Plaintiffs’ Opposition, Plaintiff Lloyd’s

  21    Equipment, Inc. (“LE”) was “a direct purchaser of electric spa pump motors.”8 A direct
  22    purchaser from whom? Plaintiffs’ Opposition does not say.9 The Complaint, however,
  23
        6
  24    7
          [See Compl. ¶¶ 7, 60.]
          Delaware Valley Surgical v. Johnson & Johnson, 523 F.3d 1116, 1120-21 (9th Cir.
  25    2008) (citing Illinois Brick Co. v. Illinois, 431 U.S. 720, 735, 97 S. Ct. 2061, 52 L. Ed. 2d
        707 (1977)). See also Lucas Auto. Eng’g, Inc. v. Bridgestone/Firestone, Inc., 140 F.3d
  26    1228,
        8
               1235 (9th Cir. 1998).
        9
          [See Opp., p. 8 of 21.]
  27      As for Plaintiff Lloyd’s Material Supply Company, Inc. (“LMS”), Plaintiffs’ Opposition
        does say that LMS is “a direct purchaser of spa pumps from LE.” [See Opp., p. 8 of 21
  28    (emphasis added).] That allegation would help LMS avoid the Illinois Brick doctrine
        only if LMS sought damages for antitrust violations against its affiliate LE.
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    1   says that LE purchased RBC-manufactured spa pump motors only from three so-called
    2   “Alternate Vendors”10—not from RBC. In other words, during the time period at issue,
    3 LE was only an indirect purchaser from RBC. Nor is this a case in which Plaintiffs

    4 could amend their Complaint to add direct purchaser allegations. In an effort to avoid

    5 dismissal, Plaintiffs’ Opposition suggests the possibility that invoices showing that LE

    6 made direct purchases from RBC might later be “unearthed.”11 The fact of the matter,

    7   however, is that Plaintiffs have already been on an archaeological dig for such invoices
    8   and found nothing. According to a January 26, 2017 filing in Los Angeles County
    9   Superior Court, Plaintiff LE has not purchased a single spa motor from RBC since at least
  10    September 1, 2011.12 Granting Plaintiffs leave to amend to allege that LE was in fact a
  11    direct purchaser from RBC would therefore be futile.
  12               Even if the Complaint were not subject to dismissal, it clearly does not belong in
  13    this Court. The D.C. District Court that entered the consent decree—part of which
  14    included the SNTech agreements that RBC allegedly breached—specifically retained
  15    jurisdiction to enforce its provisions. The fact that Plaintiffs chose their home court in
  16    California is simply insufficient to overcome the overwhelming authority that “the
  17    interests of justice” outweigh potential inconvenience to Plaintiffs that might result from
  18    transfer. Goulart v. United Airlines, Inc., No. C 94-1751 SC, 1994 U.S. Dist. LEXIS
  19    21856, at *14 (N.D. Cal. Sept. 28, 1994).
  20                                           II.   ARGUMENT
  21               A.    Plaintiffs Have No Standing to Allege Violation of the
                         Consent Decree to Which Plaintiffs Were Not Parties.
  22

  23               While conceding that a consent decree cannot be enforced by individuals who were
  24    not parties to it, Plaintiffs nevertheless argue that they have standing to sue RBC because
  25    “[t]he allegations in the Complaint go far beyond the terms of the consent decree.” [Opp.
  26

  27    10
        11
             [See Compl. ¶ 9.]
  28    12
             [See Opp. at p. 18 of 21.]
             [See Reply, RJN, Lockerby Decl., ¶ 2, Ex. A at p. 4, ¶ 4 & p. 6, ¶ 4.]
                         DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
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    1   at p. 11 of 21.] According to Plaintiffs’ Opposition, the allegations in the Complaint that
    2   go “far beyond” violation of the consent decree “include RBC’s initial acquisition of
    3 AOS; RBC’s anticompetitive conduct in failing to honor the terms of the transition

    4 services and supply agreements it entered into with SNTech; and RBC’s anticompetitive

    5 conduct since acquiring more than 50% of the Relevant Market after SNTech filed for

    6 bankruptcy in 2014.” [Opp. at p. 11 of 21.] Even if the Complaint actually made these

    7 allegations, they would be insufficient to establish standing as a matter of law. On this

    8 basis alone, the Complaint should be dismissed for lack of subject-matter jurisdiction.13

    9                    1.     Plaintiffs’ allegations that RBC failed to honor its agreements
                                with SNTech are allegations of consent decree violations.
  10

  11               As actually filed, the Complaint bases its alleged violations of federal antitrust law
  12    and state law on RBC’s alleged failure to comply with a consent decree requiring RBC to
  13    provide supplies and support to RBC’s competitor SNTech. Ninth Circuit precedents are
  14    clear that, because Plaintiffs were not parties to or intended beneficiaries of this consent
  15    decree they lack standing to make these claims as a matter of law. See, e.g., United
  16    States v. FMC Corp., 531 F.3d 813, 820-21 (9th Cir. 2008).
  17               In an effort to avoid this controlling precedent, Plaintiffs argue that they are not
  18    seeking to enforce the consent decree because the consent decree only required RBC to
  19    “enter into” transition services and supply agreements with SNTech. Because RBC did
  20    “enter into” the agreements as required, Plaintiffs argue, the Complaint’s allegation that
  21    RBC failed to honor those agreements does not technically implicate the consent decree
  22
        13
  23       In a footnote, Plaintiffs argue that a motion to dismiss for lack of standing should be
        brought under Fed. R. Civ. P. 12(b)(6) rather than under Fed. R. Civ. P. 12(b)(1). [Opp.
  24    at p. 10 n.1 of 21.] Plaintiffs are correct that statutory standing—that is, whether a
        plaintiff meets the statutory requirements for bringing a claim—implicates Fed. R. Civ. P.
  25    12(b)(6). But here, RBC asserts that Plaintiffs lack constitutional standing because they
        do not have a personal stake in RBC’s consent decree sufficient to warrant their
  26    invocation of this Court’s subject-matter jurisdiction. Accordingly, RBC’s motion to
        dismiss for lack of standing is properly considered under Fed. R. Civ. P. 12(b)(1).
  27    “Because standing and mootness both pertain to a federal court’s subject-matter
        jurisdiction under Article III, they are properly raised in a motion to dismiss under
  28    Federal Rule of Civil Procedure 12(b)(1), not Rule 12(b)(6).” White v. Lee, 227 F.3d
        1214, 1242 (9th Cir. 2000).
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    1   itself. [Opp. at p. 12 of 21.] To agree with Plaintiffs, this Court would have to—in
    2   effect—rewrite the consent decree as entered by the D.C. District Court. The consent
    3   decree is explicit that RBC was required not only to enter into transition services and
    4   supply agreements with SNTech but also to perform under those agreements in a manner
    5   that ensured that SNTech would be able to maintain the spa motors business that it was
    6   receiving from RBC. Specifically, the consent decree provides as follows:
    7                    The divestiture of the [Spa Motor] Assets shall be accomplished
                         so as to satisfy the United States, in its sole discretion, that the
    8                    terms of any agreement between the Acquirer . . . and RBC do
                         not give RBC the ability unreasonably to raise that acquirer’s
    9                    costs, to lower that acquirer’s efficiency, or otherwise to
                         interfere in the ability of that acquirer to compete effectively.
  10

  11    [MTD, RJN, Lockerby Decl. ¶ 4 (Doc. # 21-2), Ex. C at 12 (Doc. # 21-4).] Additionally,
  12    the consent decree provides:
  13                     Unless the United States otherwise consents in writing, the
                         divestiture of the [Spa Motor] Assets shall be accomplished in
  14                     such a way as to satisfy the United States, in its sole discretion,
                         that the [Spa Motor] Assets can and will be used by the
  15                     Acquirer . . . as part of a viable, ongoing business that is
                         engaged in the design, development, manufacture, marketing,
  16                     servicing, distribution, and sale of the Divested RBC Product
                         Lines and the divestiture of the [Spa Motor] Assets will remedy
  17                     the competitive harm alleged in the Complaint.
  18 [Id.] The foregoing specific provisions are in addition to the overall requirement of the

  19    consent decree that “RBC shall not take any action that will impede in any way the
  20    operation, use, or divestiture of the [Spa Motor] Assets.” [Id. at 9.] If RBC’s
  21 performance or lack thereof impeded SNTech’s ability to operate the divested business,

  22 RBC could have violated the consent decree. Plaintiffs do not have standing, however, to

  23 assert a claim that RBC failed to fully honor its agreements with SNTech as required by

  24 the consent decree. Plaintiffs simply were not parties to either the agreements or the

  25 consent decree.

  26
                         2.    Plaintiffs’ allegations about RBC’s acquisition of AOS’s
  27                           spa motor business are barred by the statute of limitations.
  28               Plaintiffs’ Complaint alleges that RBC’s acquisition of AOS’s spa motor business
                           DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
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    1   closed in 2011 after entry of the consent decree on November 1, 2011. [Compl. ¶¶ 6, 51].
    2   Even if the Complaint alleged that the acquisition itself violated federal or state law, it
    3   occurred well outside the two-year and four-year limitations periods applicable in this
    4   case. [See MTD, RJN, Lockerby Decl., ¶ 5, Ex. D]. In an effort to surmount this hurdle,
    5   Plaintiffs now claim that RBC’s 2011 acquisition of AOS resulted in “a continuing
    6   violation” of the antitrust laws by RBC that persisted into 2014. [Opp. at pp. 14-15 of
    7   21.] This argument finds no support in the authority cited by Plaintiffs14 and is directly
    8   contrary to the authority that RBC cited in its motion to dismiss—which Plaintiffs make
    9   no effort to address, rebut, or distinguish. “It cannot be the case that if a merger leads to
  10    monopoly power then anything anticompetitive that the newfound monopolist does is a
  11    ‘continuing violation’ that began with the merger, allowing the merger to be challenged
  12    indefinitely under section 2 of the Sherman Act.” Complete Ent. Res. LLC v. Live Nation
  13 Ent., Inc., No. CV 15-9814 DSF (AGRx), 2016 U.S. Dist. LEXIS 86414, at *3 (C.D. Cal.

  14 May 11, 2016) [cited in Def’s. Mem. ISO Mot. to Dismiss or, Alternatively, to Transfer

  15 at p. 18 of 33.] In this case, RBC’s 2011 acquisition of AOS’s spa motors business is

  16 similarly not actionable as a “continuing violation” of the antitrust laws. Even if the

  17 acquisition caused RBC to acquire monopoly power, it cannot “be challenged indefinitely

  18 under Section 2 of the Sherman Act.” Id. at *3.

  19               Nor is there any merit to Plaintiffs’ argument that they can recover for damages
  20 caused by RBC’s acquisition of AOS because those damages were “speculative, and thus

  21 unrecoverable” until SNTech exited the market by going bankrupt in December 2014.

  22 [See Opp. at pp. 14 of 21]. This argument ignores the very allegations of Plaintiffs’ own

  23
        14
  24      Plaintiffs cite La Salvia v. United Dairymen of Arizona, 804 F.2d 1113 (9th Cir. 1986)
        for the general proposition that a continuing violation of the antitrust laws can extend the
  25    statute of limitations for damages suffered within four years of the filing of the
        Complaint. This may be true as a general proposition of law, but it is inapplicable here.
  26    RBC’s acquisition of AOS was a one-time event that has not since been reaffirmed
        through new and independent overt actions by RBC. Therefore, the “continuing
  27    violation” principle does not apply. To restart the statute of limitations, the defendant
        must commit an “overt act” that is “a new and independent act that is not merely a
  28    reaffirmation of a previous act.” Pace Inds., Inc. v. Three Phoenix Co., 813 F.2d 234,
        238 (9th Cir. 1987).
                        DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
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    1   Complaint, which states that RBC acquired AOS’s spa motors business pursuant to a
    2   consent decree that compelled RBC to divest its own spa motors business to SNTech.
    3   [Compl. ¶¶ 3-6, 42-51.] The whole point of this consent decree, the Complaint alleges,
    4   was “to preserve the current state of competition in the Relevant Market by creating an
    5   independent, economically viable competitor to RBC.” [Compl. ¶ 46.] Accordingly, if
    6   Plaintiffs were unable to sue RBC immediately after the acquisition in 2011, the reason
    7   was not that Plaintiffs’ injury at the time was speculative. Rather, it was because RBC’s
    8   acquisition of AOS did not injure Plaintiffs. By divesting its own spa motors business
    9   to SNTech, RBC did exactly what the DOJ—as reflected in the consent decree—said that
  10    RBC needed do to preserve competition to the ultimate benefit of companies like
  11    Plaintiffs. Because Plaintiffs have not alleged that RBC’s divestiture of its spa motors
  12    business to SNTech in 2011 caused Plaintiffs any injury—whether in 2011 or in 2014—
  13    their attempts to sue RBC for the 2011 acquisition of AOS are barred by the applicable
  14    statutes of limitations.
  15                      3.     Plaintiffs have not alleged that RBC has done anything
                                 unlawful since SNTech filed for bankruptcy in 2014.
  16

  17               In a last-ditch effort to avoid the statute of limitations, Plaintiffs argue that their
  18    Complaint is timely because it supposedly contains allegations about “RBC’s
  19    anticompetitive conduct since acquiring more than 50% of the Relevant Market after
  20    SNTech filed for bankruptcy in 2014.” [Opp. at p. 11 of 21.] What “anticompetitive
  21    conduct” after SNTech’s 2014 bankruptcy filing does the Complaint allege? Plaintiffs’
  22    Opposition does not say. Nor does it cite anything in the Complaint that alleges that
  23    RBC did anything following the bankruptcy of SNTech. Plaintiffs’ silence speaks
  24 volumes.

  25               Even if SNTech’s bankruptcy left RBC with a major share of the market for spa
  26 motors, RBC’s market share alone would not establish liability for antitrust violations—

  27 much less entitle Plaintiffs to damages—according to the Supreme Court, the Ninth

  28 Circuit, and the D.C. Circuit. “It is settled law that the mere existence of a monopoly
                           DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                    ALTERNATIVELY, TO TRANSFER
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    1   does not violate the Sherman Act.” Rambus Inc. v. FTC, 522 F.3d 456, 463 (D.C. Cir.
    2   2008).15 It is not enough for Plaintiffs to allege that RBC acquired a major share of the
    3 market by virtue of a competitor’s exit from the market. The mere fact that RBC’s

    4   competitor went out of business does not mean that RBC violated the antitrust laws.
    5              To state a claim for attempted monopolization in violation of Section 2 of the
    6   Sherman Act, Plaintiffs must allege that RBC “engaged in predatory or anticompetitive
    7   conduct.” Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456, 113 S. Ct. 884, 122 L.
    8   Ed. 2d 247 (1993). “[T]he possession of monopoly power will not be found unlawful
    9   unless it is accompanied by an element of anticompetitive conduct.” Verizon Commc’ns
  10    Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407, 124 S. Ct. 872, 157 L.
  11    Ed. 2d 823 (2004) (emphasis in original). To be “predatory” or “anticompetitive,” RBC’s
  12    conduct must reflect “the willful acquisition or maintenance of [monopoly] power as
  13    distinguished from growth or development as a consequence of a superior product,
  14    business acumen, or historic accident.” Trinko, 540 U.S. at 407 (quotation omitted).
  15    Trinko is clear that Plaintiffs’ allegations are insufficient to state a claim absent the
  16    allegation that RBC affirmatively did something predatory. Trinko is equally clear that
  17    RBC had no obligation under the antitrust laws to rush to the aid of its competitor. The
  18    mere allegation that RBC sat back and watched SNTech declare bankruptcy is
  19    insufficient as a matter of law.
  20               Notwithstanding the embellishments in Plaintiffs’ Opposition, Plaintiffs’
  21    Complaint is based on only one alleged act that possibly may have occurred after the
  22    2011 entry of the DOJ consent decree: RBC’s supposed failure to comply with its
  23
        15
  24       See generally United States v. Syufy Enterprises, 903 F.2d 659, 664 (9th Cir. 1990)
        (“the nature of competition is to make winners and losers”); In re Air Passenger
  25    Computer Reservations Sys. Antitrust Litig., 694 F. Supp. 1443, 1470 (C.D. Cal. 1988)
        (“Harm to a competitor, in itself, does not constitute a violation of the antitrust laws, and
  26    is not indicative of monopoly power.”); A.A. Poultry Farms, Inc. v. Rose Acre Farms,
        Inc., 881 F.2d 1396, 1402 (7th Cir. 1989) (“Firms need not like their competitors; they
  27    need not cheer them on to success; a desire to extinguish one’s rivals is entirely
        consistent with, often is the motive behind, competition.”). The purpose of the antitrust
  28    laws, after all, is to protect competition, not competitors. Brunswick Corp. v. Pueblo
        Bowl-O-Mat, Inc., 429 U.S. 477, 488, 97 S. Ct. 690, 50 L. Ed. 2d 701 (1977).
                        DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
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    1   obligations to SNTech under the DOJ consent decree. The Complaint, however, does not
    2   allege any specific breaches by RBC within the limitations period.
    3              Even if Plaintiffs had standing to enforce the consent decree, the holding in Trinko
    4 alone is fatal to Plaintiffs’ antitrust claims. “[A]s in Trinko, the defendant has no antitrust

    5 duty to deal with its rivals….” Pacific Bell Telephone Co. v. Linkline Commc’ns, Inc.,

    6   555 U.S. 438, 449-50, 129 S. Ct. 1109, 172 L. Ed. 2d 836 (2009). Accord Aerotec Int’l,
    7   Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir. 2016) (“[E]ven an act of pure
    8   malice by one business competitor against another does not, without more, state a claim
    9   under the federal antitrust laws.” (quotation omitted)).
  10               B.    Plaintiffs’ Other Attempts to Rewrite Their Complaint
                         Are Insufficient to Avoid Dismissal As a Matter of Law.
  11
                         1.     The Complaint does not allege, and it would be unreasonable to
  12                            infer, that RBC’s 2011 actions caused SNTech’s 2014 bankruptcy.
  13               Rule 12(b)(6) requires this Court to examine the legal sufficiency of what
  14    Plaintiffs’ Complaint actually says, not what Plaintiffs’ Opposition now says that it says.
  15    In an effort to avoid the statute of limitations and other grounds for dismissal, Plaintiffs’
  16    Opposition repeatedly suggests—without citation to the Complaint—that RBC caused
  17    SNTech to file for bankruptcy and exit the spa motors market. The rhetoric of Plaintiffs’
  18    Opposition, however, finds no support in the actual Complaint, as the following side-by-
  19    side comparison shows:
  20
        Allegations of the Complaint Regarding             Allegations of the Complaint As
  21    SNTech’s Bankruptcy Filing in 2014                 Characterized By Plaintiffs’ Opposition
        “SNTech has subsequently been driven out           “RBC divested its electric spa pump motor
  22
        of the Relevant Market, having filed for           assets to SNTech, but did so in such a way
  23    Chapter 11 bankruptcy in December 2014,            that drove SNTech out of the Relevant
        which was converted to a Chapter 7                 Market by way of bankruptcy.”
  24
        bankruptcy on June 23, 2015.”                      [Opp. at p. 12 of 21.]
  25    [Compl. ¶ 7.]
        “SNTech filed for Chapter 11 bankruptcy            “Here, the Complaint indicates that Lloyd’s
  26
        in December 2014, which was converted to           suffered injury on or about December 2014,
  27    a Chapter 7 bankruptcy on June 23, 2015            when RBC was finally able to drive out its
        and is no longer actively engaged in the           primary competition from the electric spa
  28
                          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                   ALTERNATIVELY, TO TRANSFER
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    1 development, manufacture, and sale of               pump motor market.”
    2 electric motors for spa pumps.”                     [Opp. at p. 7 of 21.]
      [Compl. ¶ 60.]
    3
                   The Complaint does allege that RBC failed to comply with the consent decree. It
    4
        fails to “connect the dots,” however, between RBC’s alleged non-compliance with the
    5
        consent decree back in 2011 and SNTech’s subsequent bankruptcy some three years later.
    6
        Nor would it be reasonable to infer that RBC’s alleged provision of faulty motors and
    7
        technical assistance single-handedly bankrupted an entire company that existed
    8
        independently before RBC’s divested a single business line to it in 2011.
    9
                   Even if the Complaint alleged that RBC somehow caused SNTech’s bankruptcy, it
  10
        fails to allege that the bankruptcy caused Plaintiffs to suffer any injury within the
  11
        limitations period. According to Plaintiffs’ Opposition, “the Complaint alleged that
  12
        Lloyd’s suffered harm on or about the time that SNTech became a defunct entity and
  13
        exited the Relevant Market though bankruptcy—December 2014.” [Opp. at p. 13 of 21.]
  14
        Not only is this assertion unsupported by any citation to the Complaint, it is actually
  15
        contrary to the allegations of the Complaint. According to the Complaint, Plaintiffs
  16
        stopped buying SNTech spa motors because of RBC’s alleged “provi[sion of] faulty raw
  17
        materials and components to SNTech” and “fail[ure] to provide the technical and
  18
        engineering assistance needed to ensure that SNTech could develop, manufacture, and
  19
        sell the former RBC spa motors.” [Compl. ¶ 7]. It was these alleged violations of the
  20
        consent decree—not SNTech’s later bankruptcy—that caused LE to switch its source of
  21
        supply to the “Alternate Vendors” referenced in the Complaint. [Compl. ¶¶ 8-9].
  22
        According to the Complaint:
  23
                         RBC’s provision of defective raw materials and components to
  24                     SNTech, and its failure to provide SNTech with the technical
                         and engineering assistance required by the Final Judgment,
  25                     directly led to SNTech’s inability to develop, manufacture, and
                         sell operational electric motors for spa pumps in sufficient
  26                     quantities and with acceptable levels of product quality in the
                         United States.
  27

  28
                          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                   ALTERNATIVELY, TO TRANSFER
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    1   [Compl. ¶ 58 (emphasis added).16] Therefore, Plaintiffs’ argument that their injuries
    2 only became discernable in 2014 is not consistent with the Complaint as pled,

    3 underscoring the conclusion that their claims are time-barred.

    4                    2.     The Complaint does not allege, and cannot be amended to
                                allege, that Plaintiffs purchased spa motors directly from RBC.
    5

    6              By Plaintiffs’ own admission, the closest that the Complaint comes to alleging any
    7   direct purchases from RBC is the statement that “Lloyd’s was ‘forced to purchase electric
    8   motors manufactured and sold by RBC or third parties.’” [Opp. at p. 18 of 21 (quoting
    9   Compl. ¶ 8) (emphasis added).] That allegation may be close enough for horseshoes and
  10    hand grenades, but it is insufficient to satisfy the plausibility requirements of Twombly.17
  11    “Where a complaint pleads facts that are merely consistent with a defendant’s liability, it
  12    stops short of the line between possibility and plausibility of entitlement to relief.”
  13    Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (internal
  14    quotations omitted).
  15               At best, Paragraph 8 of the Complaint alleges that at least one of the two Plaintiffs
  16    purchased RBC-manufactured spa motors either directly from RBC or indirectly from
  17    third parties. Any doubt as to whether Plaintiff LMS is a “direct” or “indirect” purchaser
  18    from RBC is resolved, however, by the very next paragraph of the Complaint. Paragraph
  19    9 states that Plaintiff LMS stopped buying SNTech-manufactured spa motors and instead
  20    bought RBC-manufactured spa motors from three “Alternate Vendors,” i.e., Waterway
  21    Plastics, Inc., Gecko Alliance, Inc., and Balboa Water Group. [Compl. ¶ 9.] Notably,
  22

  23    16
           [See also id. (“Whenever LE would complain to SNTech regarding its inability to
  24    deliver operational electric motors for spa pumps, SNTech would reply that the source of
        the
        17
             problems was RBC.”).]
  25       Relatedly, Plaintiffs argue that the Complaint should only be dismissed if it appears
        beyond doubt that there are “no set of facts” that could support Plaintiffs’ claim to
  26    recovery. [Opp. at p. 9 of 21]. This argument is contrary to the Ninth Circuit’s repeated
        determination that, “for pleading an antitrust claim, the U.S. Supreme Court in Bell
  27    Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007),
        specifically abrogated the usual notice pleading rule under Rule 8(a)(2) and Conley v.
  28    Gibson, 355 U.S. 41, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957).” Somers v. Apple, Inc., 729
        F.3d 953, 959 (9th Cir. 2013) (quotation omitted).
                       DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                            ALTERNATIVELY, TO TRANSFER
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    1   RBC’s name is not listed among the entities from which Plaintiffs purchased. Because
    2   “Plaintiffs’ specific factual allegations contradict Plaintiffs’ general allegations,”
    3   dismissal is proper. Garrison v. Oracle Corp., 159 F. Supp. 3d 1044, 1076 (N.D. Cal.
    4   2016).
    5              Nor should Plaintiffs be granted leave to amend their Complaint to allege that they
    6 purchased spa motors directly from RBC during the four-year statute of limitations

    7 governing their antitrust claims. Any such amendment would be futile. As RBC noted in

    8 support of its motion to dismiss, RBC is currently engaged in litigation with Plaintiffs in

    9 Los Angeles County Superior Court to enforce a $1.15 million judgment that RBC

  10 obtained in yet another action involving Plaintiffs’ affiliates. In that case, RBC recently

  11 moved for summary judgment. In its January 26, 2017 response, Plaintiff LE admitted

  12 four separate times that it has not purchased a single spa motor from RBC since at least

  13 September 1, 2011.18 In light of that filing just last month, it is disingenuous at best for

  14 Plaintiff LE to argue that it has not yet “[a]t this stage in the litigation . . . unearthed every

  15    single invoice generated . . . in the wake of SNTech’s demise.” [Opp. at p. 18 of 21.] To
  16    the contrary, LE has already dug through its business records. Based upon a review of
  17    the invoices that it “unearthed,” LE has admitted to the Los Angeles County Superior
  18    Court that it has not purchased spa motors from RBC since 2011. Plaintiffs owe the
  19    same duty of candor to this Court.
  20               C.    Trinko’s Holding That Companies Have No Antitrust Duty to Aid
                         Their Competitors is Not Limited to Highly Regulated Industries.
  21

  22               Plaintiffs do not dispute that the Supreme Court’s decision in Trinko precludes
  23    claims under Section 2 of the Sherman Act that are based on a defendant’s alleged non-
  24    compliance with a legal obligation to aid its competitors. Instead, Plaintiffs argue that
  25
        18
  26    [See Reply, RJN, Lockerby Decl., ¶ 2, Ex. A at p. 4, ¶ 4 & p. 6, ¶ 4 (“As of September
     1, 2011, Lloyd’s Equipment purchased motors for use in its spa pumps from a third party,
  27 SNTech, Inc (“SNTech”), not Regal Beloit.”); id. at p. 5, ¶ 67 & p. 7, ¶ 67 (“Lloyd’s
     Equipment also admitted that any entry documenting the failure of a motor it purchased
  28 on or after September 1, 2011, was not purchased from Regal Beloit, but rather was
     purchased from SNTech and should be excluded from its damages calculation.”).]
                    DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                       ALTERNATIVELY, TO TRANSFER
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    1   Trinko does not apply here because it “was premised on the fact that the defendant was
    2 already subject to a detailed regulatory scheme” in the form of telecommunications

    3 regulations. [Opp. at p. 15 of 21 (quotation omitted).] Thus, Plaintiffs reason, Trinko

    4 does not provide a defense to a lawsuit based on violations of a consent decree in a

    5 relatively unregulated industry like spa motors.

    6              There are two major problems with Plaintiffs’ argument. First, the argument finds
    7 no support in the Supreme Court’s decision itself. Granted, in declining to disturb the

    8 longstanding rule that businesses have no general antitrust duty to aid their competitors,

    9 the Supreme Court paused to describe the existence of “a regulatory structure designed to

  10 deter and remedy anticompetitive harm” as “[o]ne factor of particular importance” to its

  11 decision. But absolutely nothing in Trinko suggests that the decision was “premised on”

  12 there being a regulatory structure in place for telecommunications carriers as Plaintiffs

  13 assert. Nor does Trinko suggest in any way that its holding should be applied only in

  14 cases involving highly regulated industries (if such a line could even be meaningfully

  15 drawn). Thus, lower courts have not limited the application of Trinko to highly regulated

  16 industries. Instead, Trinko applies to any situation where a company finds itself legally

  17 obligated to aid a competitor.19 See, e.g., In re Adderall XR Antitrust Litig., 754 F.3d

  18    128, 135 (2d Cir. 2014) (applying Trinko to reject a monopolization claim premised on
  19    the breach of a “contractual duty to supply goods” under a requirements contract); North
  20    Star Gas Co. v. PG&E Co., 15-cv-2575-HSG, 2016 U.S. Dist. LEXIS 131684, at *81-82
  21    (N.D. Cal. Sept. 26, 2016) (applying Trinko to reject a monopolization claim premised in
  22    part on a breach of contract). Here, then, where Plaintiffs’ Complaint is based on the
  23    alleged violation of a federal consent decree, Trinko applies.
  24               The second reason that Plaintiffs’ argument fails is that RBC’s obligation to
  25
        19
  26    It should not be surprising, however, if a legal obligation to aid a competitor arises
     most often in regulated industries. After all, the general rule in a free-market economy is
  27 that companies do not have any duty to aid their competitors. See, e.g., Pac. Bell Tel. Co.
     v. Linkline Commc’ns, Inc., 555 U.S. 438, 448, 129 S. Ct. 1109, 172 L. Ed. 2d 836 (2009)
  28 (“As a general rule, businesses are free to choose the parties with whom they will deal, as
     well as the prices, terms, and conditions of that dealing.”).
                    DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                          ALTERNATIVELY, TO TRANSFER
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    1   support and supply SNTech in this case was based on a detailed regulatory regime:
    2 namely, the consent decree that RBC entered into with the DOJ. As the Complaint

    3 makes clear, the consent decree contains a number of detailed provisions intended to

    4 preserve the pre-merger state of competition in the market for spa motors. [Compl. ¶¶

    5 45-50.] The consent decree also has detailed enforcement provisions that allow the DOJ

    6 to investigate or punish any potential violation of the consent decree by RBC. [See

    7 Def’s. Mem. ISO Mot. to Dismiss or, Alternatively, to Transfer at p. 27 of 33.] Thus,

    8 Plaintiffs’ reading of Trinko actually cuts against their own argument, because the fact

    9 that the consent decree had a detailed structure and enforcement provisions only

  10 underscores how inappropriate it would be to infer from it an antitrust duty for RBC to

  11 have aided its competitor.

  12               D.    If Plaintiffs’ Complaint Is Not Dismissed, the Case Should Be
                         Transferred to the Court That Entered the Consent Decree.
  13

  14               Even if Plaintiffs had standing to enforce the consent decree, the issue of whether
  15    RBC in fact violated its provisions is properly referred to the United States District Court
  16    for the District of Columbia—the court that entered, and that retains jurisdiction to
  17    enforce, the consent decree on which Plaintiffs’ claims are based. “When a court
  18    entertains an independent action for relief from the final order of another court, it
  19    interferes with and usurps the power of the rendering court just as much as it would if it
  20    were reviewing that court’s equitable decree.” Treadaway v. Academy of Motion Picture
  21    Arts & Sciences, 783 F.2d 1418, 1422 (9th Cir. 1986).20
  22
        20
  23       See also Parkison v. Butte County Sheriff’s Dep’t, No. 2:09-cv-2257 MCE DAD P,
        2013 U.S. Dist. LEXIS 35018, at *41-42 (E.D. Cal. Mar. 13, 2013) (“[I]n the interest of
  24    comity and the orderly administration of justice, this court should decline to exercise
        jurisdiction over matters involving the enforcement of the terms of a consent decree
  25    entered in state court.”); Sharpe v. Select Portfolio Services, Inc., No. CV-2011-01436-
        PHX-GMS, 2012 U.S. Dist. LEXIS 178031 at *6 (D. Ariz. Dec. 17, 2012) (“Given the
  26    District of Massachusetts’s familiarity with and continuing jurisdiction over the matters
        that form the basis of Plaintiff’s surviving claim, the Court is inclined to find that transfer
  27    of the case to the District of Massachusetts is warranted.”); Koehler v. Green, 358 F.
        Supp. 2d 346, 347 (S.D.N.Y. 2005) (“The court that approved the settlement in that
  28    litigation retained jurisdiction over the case ‘for all matters relating thereto.’ Given that
        court’s familiarity with and continuing jurisdiction over the matters that form the basis of
                        DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                              ALTERNATIVELY, TO TRANSFER
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    1              Plaintiffs do not dispute that transfer to the D.C. District Court would further the
    2   judicial system’s interests in comity and the orderly administration of justice. Instead,
    3   Plaintiffs’ Opposition argues that they are not seeking “any form of relief that would
    4   require RBC to act in contravention of the DOJ consent decree.” [Opp. at p. 21 of 21.]
    5   This argument misses the point. If the Complaint presented any justiciable claims at all,
    6   the principal issue would be whether RBC fulfilled its obligations under its consent
    7   decree with the DOJ. Resolution of that issue by this Court would, going forward, impair
    8   the D.C. District Court’s ability to interpret and enforce the consent decree. As a result,
    9   the interests of comity and the orderly administration of justice both weigh heavily in
  10    favor of transferring this case to the court that entered the consent decree.
  11               Ignoring the interests of justice, Plaintiffs argue that transfer would be
  12    “inconvenien[t]” because none “of the witnesses or transactions that occurred in this case
  13    took place in the District of Columbia.” [Opp. at p. 20 of 21.] This argument is patently
  14    incorrect. Seventeen paragraphs of the Complaint reference transactions or events that
  15    took place in the District of Columbia—including the DOJ’s filing of a lawsuit against
  16    RBC in the D.C. District Court and that court’s subsequent entry of the consent decree
  17    upon which Plaintiffs’ Complaint is based. [See Compl. ¶¶ 4-7, 41-51, 54, 69.] If the
  18    Complaint is not dismissed as a matter of law, a central issue that would likely be
  19    pursued in discovery and at a possible trial is whether the DOJ has reviewed or reached
  20    any conclusions about RBC’s compliance with the consent decree. Plaintiffs—both of
  21    which are located in California and claim to have suffered injury here—make the
  22    threadbare allegation that RBC “substantially affected trade and commerce . . . and
  23    restrained competition in California.” [Compl. ¶ 23.] The Complaint does not allege,
  24    however, that the alleged conduct of RBC at issue occurred in California. Even if it did,
  25

  26 the instant complaint, the Court finds that transfer of the case to the Eastern District of
     Missouri pursuant to 28 U.S.C. § 1404(a) is warranted.” (quotation omitted)); Willoughby
  27 v. Potomac Elec. Power Co., 853 F. Supp. 174, 176 (D. Md. 1994) (“Indeed, generally
     speaking a district court that enters a consent decree and retains enforcement jurisdiction
  28 in all probability has exclusive jurisdiction over claims relating to it.”).
                           DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                    ALTERNATIVELY, TO TRANSFER
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    1   “Plaintiffs chose to request relief inextricably intermingled with the provisions of the
    2   Consent Decree” and therefore “must … request it from the proper court.” Goulart, 1994
    3   U.S. Dist. LEXIS 21856, at *14. Under the circumstances, the “proper court” is not this
    4   one.
    5                                         III.   CONCLUSION
    6              For lack of standing alone, Plaintiffs’ Complaint is properly dismissed. Even if
    7   this Court had subject-matter jurisdiction, Plaintiffs’ claims are barred by the applicable
    8   statutes of limitations and inconsistent with Supreme Court precedents such as Trinko and
    9   Twombly. And even if Plaintiffs could assert violation of a consent decree to which they
  10    are not parties, their claims should be heard by the court that entered and retained
  11    jurisdiction to enforce the consent decree.
  12

  13    Dated: February 17, 2017                     FOLEY & LARDNER LLP
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                                                     Melinda F. Levitt
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  20                                                 CORPORATION, a Wisconsin corporation

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                          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS, OR
                                                   ALTERNATIVELY, TO TRANSFER
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